     Case 1:93-cr-00460-CMH Document 94 Filed 01/27/12 Page 1 of 6 PageID# 38


                                                                 E
                   IN THE UNITED STATES DISTRICT COURT                  JAN 2 7 2012
                  FOR THE EASTERN DISTRICT OP VIRGINIA
                                                                   CLERK. U S. DISTHiCT •'" C
                                                                      ALEXANDRIA. ViRO M<
                              Alexandria Division




UNITED STATES OF AMERICA,

V.                                        Criminal No.    1:93CR460

JAMES KIRBY BURKS,     JR.,

                   Defendant.




                              MEMORANDUM OPINION


       This case is before the Court on Defendant's Motion For

Modification Of His Sentence pursuant to Title 18, United States

Code Section 3582(c) (2) and U.S.S.G § 1B1.10.

       On December 21, 1993, a grand jury sitting in the Eastern

District of Virginia returned a two-count Indictment against

Defendant James K. Burks, Jr.         Burks was charged with conspiracy

to distribute over 50 grams of crack cocaine in violation of 21

U.S.C. § 846 and with engaging in a continuing criminal

enterprise ("CCE") in violation of 21 U.S.C.          § 848.

       Following a jury trial in the United States District Court

in Alexandria, Virginia on March 9, 1994, Burks was convicted of

both counts against him.         At the sentencing hearing on June 3,

1994, the Court accepted the recommendations of the probation

office, which concluded that Burk's guideline range was
  Case 1:93-cr-00460-CMH Document 94 Filed 01/27/12 Page 2 of 6 PageID# 39



mandatory life in prison because his offense level was 48.            The

offense level was calculated upon the base offense level of 42

for more than 15 kilograms of crack cocaine, enhanced by two

levels for the use of firearms, and four levels for his role in

the offense.      Accordingly, the Court sentenced Burks to life in

prison on the drug charge and on the CCE.         Burks appealed.

        On appeal, the CCE charge was affirmed and, accordingly,

the case was remanded for dismissal of the conviction on the

conspiracy charge.      United States v. Burks,    85 F.3d 617 (4th

Cir.    1996) .

        From 1990 to 1993, Burks purchased hundreds of kilograms of

cocaine from Albert Martinez and later,      Kevin Backstrom.       After

cooking the cocaine into crack, Burks sold it, primarily to

Anthony Cotton and Todd Foster.      In his crack cocaine

enterprise, Burks led associates including Maurice Hall, Ronald

Hall, Derrick Pollard, David Liverpool, Eugene Spriggs, Nathan

King, Keith Parham, Gary Willingham, and Howard Wright.

Martinez, Backstrom, Cotton, and Hall all testified against

Burks at    trial.


        About once a week from 1990 to November 1991, Martinez sold

Burks between two and four kilograms of powder cocaine for about

$21,000 per kilogram.      After Martinez was arrested in November

1991,    Burks obtained his cocaine from Backstrom.      From November

1991 to February 1992, Backstrom flew from Los Angeles to
  Case 1:93-cr-00460-CMH Document 94 Filed 01/27/12 Page 3 of 6 PageID# 40



Washington,    D.C. about twice a week to deliver between five and

seven kilograms of cocaine each trip to Burks for about $17,500

a kilogram.    After February 1992, Backstrom had from five to

seven kilograms of cocaine delivered to Burks about twice a week

and Burks regularly flew to Los Angeles to deliver payment to

Backstrom.


     From 1990 to early 1993, Cotton and Foster purchased their

cocaine from Burks.     By early 1992, Burks fronted them a

kilogram of crack cocaine twice weekly for about $32,000 per

kilogram.     After April 1992, Cotton and Foster sold two

kilograms of crack cocaine on consignment for Burks two to three

times a week for about $20,500 per kilogram.        On December 31,

1992, Cotton and Foster picked up on consignment and then paid

Burks for five kilograms of crack cocaine.

     Pursuant to 18 U.S.C.    § 3582(c)(2),    a Defendant's sentence

may be reduced only when he was "sentenced to a term of

imprisonment based on a sentencing range that has subsequently

been lowered by the Sentencing Commission."        The statute

provides, "The court may not modify a term of imprisonment once

it has been imposed except ... (2) in the case of a defendant

who has been sentenced to a term of imprisonment based on a

sentencing range that has subsequently been lowered by the

Sentencing Commission pursuant to 28 U.S.C. § 994(o)         . . ." 18

U.S.C. § 3582(c).     The plain language of § 3582(c) imposes the
  Case 1:93-cr-00460-CMH Document 94 Filed 01/27/12 Page 4 of 6 PageID# 41



requirement that a retroactive amendment lower a defendant's

"sentencing range" before relief is authorized.

     In its revisions to Section 1B1.10, the Commission,

consistent with the statutory directive that a reduction should

occur only where the defendant's sentencing range was lowered,

made clear that a sentencing court is not authorized to reduce a

defendant's sentence when a retroactive amendment does not

result in lowering the applicable sentencing range for the

defendant.    Specifically, subsection (a)(2)(B) provides that a

reduction in the defendant's term of imprisonment is not

consistent with this policy statement and therefore is not

authorized under 18 U.S.C.    § 3 582(c)(2)   if an amendment listed

in subsection (c) does not have the effect of lowering the

defendant's applicable guideline range.        U.S.S.G. §

lB1.10(a)(2)(B).    In this case, the applicable guideline range

for Burks is not changed by application of the relevant

amendments, so a reduction in his term of imprisonment is not

authorized.


     At sentencing,   this Court found that the Defendant's

adjusted offense level was 48 for his distribution of more than

50 kilograms of crack.     Amendment 706 increased the quantity of

crack necessary to receive a base offense level of 38 from more

than 1.5 kilograms to more than 4.5 kilograms.         As noted in

Paragraph 87 of the Pre-Sentence Report, however, Burks was
  Case 1:93-cr-00460-CMH Document 94 Filed 01/27/12 Page 5 of 6 PageID# 42



responsible for distributing more than 50 kilograms of crack

cocaine.   Accordingly, for the distribution of more than 50

kilograms of crack, the applicable base offense level for Burks

even after application of the retroactive amendment is 38.

     Burk's base offense level was enhanced by two levels for

use of a firearm, and by four levels for his role in the

offense.   Accordingly, even with a base offense level of 38, his

total offense level is still 44.      The guideline range for

offense level 44 is the same as it was for his original total

offense level of 48, which was life in prison.         As a result, the

amendment to the crack cocaine guidelines can have no effect on

Burk's sentence.


     Where, as in the case here, application of the pertinent

amendment does not result in a different sentencing range, no

reduction of sentence may occur.      United States v. Gonzales-

Balderas, 105 F.3d 981, 984 (5th Cir. 1997) (affirming denial of

a motion for sentence reduction because, while a retroactive

amendment reduced the defendant's offense level,        the new level

still required the same sentence of life imprisonment that was

imposed originally).    See also United States v. Wanton,       525 F.3d

621, 622   (8th Cir. 2008)   {per curiam). United States v.

Phillips, 2006 WL 4748127 (E.D. Va. September 11, 2006), aff'd,

223 Fed. Appx.   249 (4th Cir. 2007).
  Case 1:93-cr-00460-CMH Document 94 Filed 01/27/12 Page 6 of 6 PageID# 43



     Neither Amendment 505 nor Amendment 706 and 715 have any

effect on Burk's sentence.      In light of these authorities and

the facts of this case, Burk's Motion must be denied, because

the guideline amendments do not have the effect of lowering his

guideline range.




                                               JsL
                                       Claude M. Hilton
                                    United States DistrictJudge



Alexandria, Virginia
January Xl , 2012
